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                                     Daniel S. Agle, Bar No. 251090
                                 2   Douglas W. Lytle, Bar No. 178315
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                                 6
                                     Attorneys for Defendants
                                 7   THE MCMILLAN LAW FIRM, APC;
                                     SCOTT A. MCMILLAN and
                                 8   MICHELLE D. VOLK
                                 9                        UNITED STATES DISTRICT COURT
501 WEST BROADWAY, SUITE 600
 SAN DIEGO, CALIFORNIA 92101




                                10                     SOUTHERN DISTRICT OF CALIFORNIA
                                11
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                                12   L. LEE BRIGHTWELL, an                    Case No. 16-CV-1696-W-NLS
                                     individual,
                                13                                            DECLARATION OF DOUGLAS W.
                                                  Plaintiff,                  LYTLE IN SUPPORT DEFENDANTS’
                                14                                            AMENDED OPPOSITION TO
                                           v.                                 PLAINTIFF’S MOTION FOR
                                15                                            PARTIAL SUMMARY JUDGMENT
                                     THE MCMILLAN LAW FIRM,
                                16   APC, a professional corporation;         Courtroom:          3C
                                     SCOTT A. MCMILLAN, an                    Judge:              Hon. Thomas J. Whelan
                                17   individual; MICHELLE D. VOLK,            Magistrate Judge:   Hon. Nita L. Stormes
                                     an individual; and DOES 1 through        Complaint Filed:    June 30, 2016
                                18   25, inclusive,                           Trial Date:         None set

                                19                Defendants.
                                20
                                21         I, DOUGLAS W. LYTLE, declare as follows:
                                22         1.     I am an attorney at law duly licensed to practice before the courts of
                                23   the State of California and Senior Counsel with the law firm of Klinedinst PC,
                                24   attorneys of record for Defendants THE MCMILLAN LAW FIRM, APC,
                                25   SCOTT A. MCMILLAN, and MICHELLE D. VOLK in the above-captioned case.
                                26   I have personal knowledge of the following facts and, if called upon as a witness,
                                27   could competently testify thereto.
                                28
                                                                              -1-
                                         DECLARATION OF DOUGLAS W. LYTLE IN SUPPORT DEFENDANTS’ AMENDED OPPOSITION TO
                                                                     PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                 1         2.     A true and correct copy of Mr. Gruenberg’s letter to Ms. Brightwell
                                 2   dated September 11, 2014 is attached to Defendants’ Appendix as Exhibit G. This
                                 3   letter is discussed in the excerpts of Ms. Brightwell’s deposition attached as
                                 4   Exhibit I, at page 124:13 through p. 128:16.
                                 5         3.     A true and correct copy of Lee Brightwell’s page of handwritten notes
                                 6   from her conversation with Scott McMillan on July 31, 2015 is attached to
                                 7   Defendants’ Appendix as Exhibit H. This document was produced by plaintiff
                                 8   Brightwell in response to document requests served by defendants in this case.
                                 9         4.     Pursuant to paragraph 6 of the Protective Order, plaintiff’s counsel
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                                10   designated certain portions of Ms. Brightwell’s deposition testimony as
                                11   confidential due to attorney-client privilege, financial information confidentiality,
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                                12   and psychotherapist-patient privilege. A true and correct copy of excerpts from the
                                13   deposition of Lee Brightwell taken on November 2, 2017 is attached to
                                14   Defendants’ Appendix as Exhibit I. Because certain portions are designated
                                15   confidential, defendants are filing a public version of Exhibit I with the particular
                                16   testimony designated by plaintiff as confidential redacted, and are filing full and
                                17   complete non-redacted Exhibit I under seal (with an ex parte application)
                                18   containing the deposition testimony without redaction.
                                19         5.     A true and correct copy of an August 5-6, 2015 email exchange
                                20   between Joshua Heinlein and Harvey Berger/Kevin Heffernan is attached to
                                21   Defendants’ Appendix as Exhibit J. This document was produced by plaintiff
                                22   Brightwell in response to document requests served by defendants in this case.
                                23         6.     A true and correct copy of an August 12, 2015 email from Josh
                                24   Heinlein to Scott McMillan is attached to Defendants’ Appendix as Exhibit K.
                                25   This document was produced by plaintiff Brightwell in response to document
                                26   requests served by defendants in this case.
                                27         7.     A true and correct copy of August 12, 2015 email from Josh Heinlein
                                28   to Harvey Berger, Kevin Heffernan, Jay Brown and others (all O’Donnell defense
                                                                              -2-
                                         DECLARATION OF DOUGLAS W. LYTLE IN SUPPORT DEFENDANTS’ AMENDED OPPOSITION TO
                                                                     PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                 1   counsel) is attached to Defendants’ Appendix as Exhibit L. This document was
                                 2   produced by plaintiff Brightwell in response to document requests served by
                                 3   defendants in this case.
                                 4         8.     Attached to Defendants’ Appendix as Exhibit M is a true and correct
                                 5   copy of a July 9, 2012 email chain “RE: Loan” between Lee Brightwell and Lisa
                                 6   Tarumoto of Pacific Access Mortgage. This document was produced by plaintiff
                                 7   Brightwell in response to document requests served by defendants in this case, and
                                 8   is the subject of deposition testimony by plaintiff attached to Defendants’
                                 9   Appendix as Exhibit I.
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                                10         9.     A true and correct copy of July 10, 2012 letter from Lee Brightwell to
                                11   Lisa Tarumoto of Pacific Access Mortgage is attached to Defendants’ Appendix as
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                                12   Exhibit N. This document was produced by plaintiff Brightwell in response to
                                13   document requests served by defendants in this case, and is the subject of
                                14   deposition testimony by plaintiff attached to Defendants’ Appendix as Exhibit I.
                                15         10.    A true and correct copy of a March 3, 2015 email exchange between
                                16   Brightwell and McMillan is attached to Defendants’ Appendix as Exhibit O. This
                                17   document was produced by plaintiff Brightwell in response to document requests
                                18   served by defendants in this case, and is the subject of deposition testimony by
                                19   plaintiff attached to Defendants’ Appendix as Exhibit I.
                                20         11.    Attached to Defendants’ Appendix as Exhibit P is a true and correct
                                21   copy of an email exchange between Scott McMillan and Lee Brightwell on July 2,
                                22   2015 and July 4, 2015, produced by plaintiffs in this case in response to a
                                23   document request.
                                24         12.    Attached to Defendants’ Appendix as Exhibit Q is a true and correct
                                25   copy of a June 1, 2015 email from Scott McMillan to Lee Brightwell attaching the
                                26   May 31, 2015 Invoice and describing the indexing problem with the billing
                                27   software. This document was produced by plaintiff Brightwell in response to
                                28   document requests served by defendants in this case.
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                                         DECLARATION OF DOUGLAS W. LYTLE IN SUPPORT DEFENDANTS’ AMENDED OPPOSITION TO
                                                                     PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                 1         13.    Attached to Defendants’ Appendix as Exhibit R is a true and correct
                                 2   copy of the final executed Mutual Release of Known and Unknown Claims for the
                                 3   settlement of Brightwell v. O’Donnell, RF Logistics. This document was produced
                                 4   by plaintiff Brightwell in response to document requests served by defendants in
                                 5   this case.
                                 6         14.    A true and correct copy of a September 23, 2015 email exchange
                                 7   between Scott McMillan and Harvey Berger, forwarded to Joshua Heinlein on
                                 8   October 1, 2015 by McMillan, is attached to Defendants’ Appendix as Exhibit S.
                                 9   This document was produced by plaintiff Brightwell in response to document
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                                10   requests served by defendants in this case.
                                11         15.    Attached to Defendants’ Appendix as Exhibit T is a true and correct
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                                12   copy of the California State Bar Committee on Professional Responsibility and
                                13   Conduct (“COPRAC”) Ethics Hotliner (Summer 2009) Ethics Alert – Uncertain
                                14   Ethics Requirements for Attorney Fee Modifications Counsel Compliance with
                                15   Rule 3-300 when Modifying a Fee Agreement, downloaded November 9, 2017 at
                                16   www.calbar.ca.gov/Portals/0/documents/ethics/Publications/EthicsHotliner/Ethics_
                                17   Hotliner-Fee_Modification_Rule_3-300-Summer_09.pdf, inclusive of its
                                18   attachments, Formal Opinion Interim No. 05-0001, and comments thereto.
                                19         16.    Attached to Defendants’ Appendix as Exhibit U is a true and correct
                                20   copy of Modification of Lawyer-Client Fee Agreements: Ethically Speaking, 52
                                21   Orange County Lawyer 38 (May 2010) authored by Carole J. Buckner, then
                                22   Special Assistant United States Attorney, Adjunct Professor at Western State
                                23   College of Law, and Chair of the State Bar's Committee on Professionalism and
                                24   Conduct (COPRAC), downloaded on November 9, 2017 from Lexis Advance.
                                25         17.    Attached to Defendants’ Appendix as Exhibit V is a true and correct
                                26   copy of “Hybrid” fee agreements for business litigation by Barry P. Goldberg,
                                27   Plaintiff Magazine (June 2011), downloaded on November 13, 2017 from
                                28   http://www.plaintiffmagazine.com/images/issues/2011/06-
                                                                             -4-
                                         DECLARATION OF DOUGLAS W. LYTLE IN SUPPORT DEFENDANTS’ AMENDED OPPOSITION TO
                                                                     PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                                                                       16-CV-1696-W-NLS
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                                 1   june/reprints/Goldberg_Hybrid-fee-agreements-for-business-litigation_Plaintiff-
                                 2   magazine.pdf.
                                 3           18.   Attached to Defendants’ Appendix as Exhibit X is a true and correct
                                 4   copy of a Notice of Appearance of Counsel filed by Joshua Heinlein of The
                                 5   Leventhal Law Firm in Brightwell v. O’Donnell, RF Logistics, San Diego Superior
                                 6   Court Case No. 37-2013-00046463-CU-BC-CTL on August 5, 2015, with a stamp
                                 7   indicating receipt by the court at 9:08 am on the morning of August 5, 2015, giving
                                 8   notice to the clerk of the court, the parties, and their attorneys of record of the
                                 9   appearance of Joshua M. Heinlein and Joseph S. Leventhal as counsel of record for
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                                10   and on behalf of plaintiff L. Lee Brightwell in the Brightwell v. O’Donnell, RF
                                11   Logistics case, and requesting that they be added to the service list and that copies
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                                12   of all pleadings and notices be forwarded to them. Also included is a Proof of
                                13   Service for the Notice of Appearance of Counsel with a stamp indicating receipt by
                                14   the court at 9:08 am on the morning of August 5, 2015. I personally downloaded
                                15   Exhibit X from the San Diego Superior Court website Register of Actions page in
                                16   Brightwell v. O’Donnell, RF Logistics, San Diego Superior Court Case No. 37-
                                17   2013-00046463-CU-BC-CTL.
                                18           19.   Attached to Defendants’ Appendix as Exhibit Y is a true and correct
                                19   copy of a Substitution of Attorney filed by Joshua Heinlein of The Leventhal Law
                                20   Firm in Brightwell v. O’Donnell, RF Logistics, San Diego Superior Court Case No.
                                21   37-2013-00046463-CU-BC-CTL with a stamp indicating it was efiled on August
                                22   11, 2015. The substitution purports to notify the parties that L. Lee Brightwell was
                                23   self-represented and substituted Joshua M. Heinlein of The Leventhal Law Firm as
                                24   a new legal representative on August 11, 2015, even though Mr. Heinlein had
                                25   already notified the clerk of the court, the parties, and their attorneys of record that
                                26   he was Ms. Brightwell’s counsel of record on August 5, 2015. I personally
                                27   downloaded Exhibit Y from the San Diego Superior Court website Register of
                                28   ///
                                                                               -5-
                                           DECLARATION OF DOUGLAS W. LYTLE IN SUPPORT DEFENDANTS’ AMENDED OPPOSITION TO
                                                                       PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                                                                         16-CV-1696-W-NLS
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                                 1   Actions page in Brightwell v. O’Donnell, RF Logistics, San Diego Superior Court
                                 2   Case No. 37-2013-00046463-CU-BC-CTL.
                                 3         I declare under penalty of perjury pursuant to the laws of the United States
                                 4   that the foregoing is true and correct.
                                 5         Executed this 7th day of February 2018, at San Diego, California.
                                 6
                                                                                     s/ Douglas W. Lytle
                                 7                                                   Douglas W. Lytle
                                 8
                                 9
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                                         DECLARATION OF DOUGLAS W. LYTLE IN SUPPORT DEFENDANTS’ AMENDED OPPOSITION TO
                                                                     PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                                                                       16-CV-1696-W-NLS
